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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

STEVEN C. DRASAL, Individually and
On Behalf of All Others Similarly
Situated,
             Plaintiff,

v.                                                            CV No. 19-981 KWR/CG

PILOT TRAVEL CENTERS, LLC d/b/a
PILOT FLYING J,

                           Defendants.

                  ORDER GRANTING JOINT MOTION TO EXTEND
                  DEADLINE TO SUBMIT CLOSING DOCUMENTS

     THIS MATTER is before the Court on the parties’ Agreed Motion for Extension of

Time to File Closing Documents, (the “Motion”), (Doc. 24), filed November 4, 2020. In

the Motion, the parties request an extension to December 1, 2020, to submit closing

documents. Id. at 1. The parties indicate that they “have negotiated, finalized, and

entered into a settlement agreement,” and that they “contemplate[] dismissal of this

lawsuit only upon full performance by Defendant.” Id. The Court, having reviewed the

Motion and noting it is unopposed, finds the Motion is well-taken and shall be

GRANTED.

     IT IS THEREFORE ORDERED that the parties shall submit closing documents no

later than December 1, 2020.

     IT IS SO ORDERED.



                                  ________________________________
                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
